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UNITED STATES DISTRICT COURT
DISTRICT OF NEW JERSEY
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SEC,

                          Plaintiff,

                 -v-                                        NOTICE OF APPEARANCE

PETER COKER SR.,                                            Docket No. 22-cv-05703-CPO-SAK

                          Defendant.

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        TO: CLERK OF COURT

        PLEASE TAKE NOTICE that MARC AGNIFILO, Esq., of Brafman & Associates, P.C.,

256 Fifth Avenue, New York, New York 10001, is appearing for the Defendant PETER COKER

SR. in the above-captioned matter.




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Dated: New York, NY
       October 4, 2022
